                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

UNITED STATES OF AMERICA,                         )
                                                  )
                      Plaintiff,                  )
                                                  )
v.                                                )              No. 3:08-CR-47
                                                  )
VINCENT WILLIS,                                   )              (PHILLIPS/GUYTON)
                                                  )
                      Defendant.                  )


                                             ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. This case is before the Court on the defendant’s Motion to Suppress

Evidence [Doc. 74]. Defense counsel advised chambers that the defendant has a signed plea

agreement and wishes to withdraw this motion. Accordingly, Defendant Vincent G. Willis’ Motion

to Suppress Evidence [Doc. 74] is DENIED as moot.

               IT IS SO ORDERED.

                                                      ENTER:


                                                           s/ H. Bruce Guyton
                                                      United States Magistrate Judge




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